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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 QUYNH VU BAIN,

                Plaintiff,

        v.
                                                         Civil Action No. 21-1751 (RDM)
 OFFICE OF THE ATTORNEY GENERAL,
 et al.,

                Defendants.


    RESPONSE TO PLAINTIFF’S REQUEST TO SEAL/UNSEAL DOCUMENTS

       By and through its undersigned counsel, Defendants (the “Agencies”) respectfully submit

this response to the Plaintiff’s request that documents remain sealed and that others be unsealed

(ECF No. 47-1).

       Plaintiff, a former immigration judge, filed an amended complaint on September 27, 2021.

ECF No. 16. The Court granted Plaintiff’s motion accompanying her complaint to file 30 exhibits

under seal. Defendants filed a partial motion to dismiss with exhibits on October 12, 2021 (ECF

No. 20), which is pending. The Court now seeks the parties’ positions regarding what portions of

the sealed material are not privileged or covered by an existing confidentiality agreement or

protective order and should be filed on the public docket.

       As an initial matter, Defendants object to Plaintiff’s submission inasmuch as it asserts that

any of the listed exhibits are “relevant,” have “probative value,” or support her claims of

discrimination. Plaintiff’s request to have documents sealed or unsealed is not an evidentiary

proceeding and this request is not the proper time or forum to decide whether the documents are

probative of any material facts or are otherwise relevant to any of her claims. Thus, Defendants
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object to Plaintiff’s characterization of the documents in her submission and her assertions as to

what they purportedly show.

       While some of the exhibits include information that may be appropriate for filing under

seal, such as Plaintiff’s personal employment and medical records, other exhibits that Plaintiff

seeks to file under seal do not disclose any personal or confidential information. She also seeks to

have other exhibits unsealed that are subject to a protective order in the underlying EEO

proceeding and exhibits that would reveal the personal information of others. While Plaintiff is

adamant about protecting her own personal information, she seems less concerned about the

private information of others. 1

       As this Court previously noted (ECF No. 4), exhibits can be sealed that meet the factors

set forth in United States v. Hubbard, 650 F.2d 293, 317–22 (D.C. Cir. 1980) (weighing (1) the

public’s need to access the document, (2) the extent of previous public access to the document,

(3) the existence of an objection to disclosure and the identity of the objector, (4) the strength of

any asserted property or privacy interests, (5) the prejudice to opponents of disclosure, and (6) the

purpose for which the documents were introduced in litigation). The Hubbard factors were

recently affirmed in Metlife, Inc. v. Financial Stability Oversight Council, 865 F. 3d 661, 665 (D.C.

Cir. 2017), wherein the court also repeated the maxim set forth in Hubbard that there is a strong

presumption in favor of public access to judicial proceedings. Id. Although there is the strong

presumption of open and transparent proceedings, Defendants are willing, for now, to keep some

of the requested records under seal and away from public disclosure, particularly Plaintiff’s

unfavorable employment and personnel records.


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       At a minimum, Plaintiff should be required to redact any and all personal information
concerning other individuals in documents, and Defendant should be afforded the opportunity to
propose modifications to those redactions and non-redactions, before any unsealing.


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       Defendants respond to Plaintiff’s various requests for the sealing and unsealing of

documents as follows:

       Exhibit 1: Defendants have no objection to the continued sealing of Plaintiff’s
       disciplinary/personnel records. However, letters of counseling are not disciplinary matters
       and are not maintained in an employee’s official personnel folder.

       Exhibit 2: Defendants have no objection to unsealing.

       Exhibit 3: Defendants have no objection to unsealing.

       Exhibit 4: In prior filings and discussions with Defendants’ prior counsel, Plaintiff did not
       originally seek to seal this exhibit. It is the case file for her EEOC Proceeding. Defendants
       object to a blanket sealing of this exhibit. It would be more appropriate for Plaintiff to
       submit a proposed redacted version of the exhibit indicating what she feels is sensitive or
       protected information concerning Plaintiff.

       Exhibits 5 through 11: Defendants have no objection to unsealing.

       Exhibit 12: Plaintiff’s submission with respect to this exhibit is confusing as she asserts
       that it should be unsealed but then also states that it should remain sealed. In any event,
       Defendants object to a blanket sealing of this exhibit. It would be more appropriate for
       Plaintiff to submit a proposed redacted version of the exhibit indicating what she feels is
       sensitive or protected medical information about Plaintiff.

       Exhibit 13: Defendants have no objection to the continued limited sealing of Plaintiff’s
       disciplinary/personnel records as outlined in Plaintiff’s chart. However, letters of
       counseling are not disciplinary matters and are not maintained in an employee’s official
       personnel folder.

       Exhibit 14: Plaintiff is seeking to file certain documents in this exhibit in an unsealed
       format. Based on Plaintiff’s description in her motion, this exhibit contains documents that
       are subject to a Protective Order that was issued in her EEO action. In Count II of
       Plaintiff’s amended complaint filed in this action, she makes allegations concerning the
       handling of her EEO case, essentially appealing dismissal of her EEO complaint.
       Accordingly, the Protective Order issued in the EEO proceeding should still control, and
       the documents contained in this exhibit should remain sealed.

       Exhibit 15: Defendants have no objection to the continued limited sealing of Plaintiff’s
       disciplinary/personnel records as outlined in Plaintiff’s chart. However, letters of
       counseling are not disciplinary matters and are not maintained in an employee’s official
       personnel folder.

       Exhibit 16: Defendants have no objection to the continued sealing of Plaintiff’s
       disciplinary/personnel records as outlined in Plaintiff’s chart. However, letters of



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counseling are not disciplinary matters and are not maintained in an employee’s official
personnel folder.

Exhibit 17: Defendants object to the sealing of this exhibit. By Plaintiff’s own admission,
the material in this exhibit, OPR’s Report of Investigation, is in the public domain. As this
information is in the public domain, there is no reason for it and related exhibits to remain
sealed.

Exhibit 18: Defendants have no objection to the continued sealing of Plaintiff’s negative
performance rating.

Exhibit 19: Defendants have no objection to the continued sealing of Plaintiff’s negative
performance rating. However, letters of counseling are not disciplinary matters and are not
maintained in an employee’s official personnel folder.

Exhibit 20: Defendants have no objection to the continued sealing of Plaintiff’s negative
performance rating. However, letters of counseling are not disciplinary matters and are not
maintained in an employee’s official personnel folder.

Exhibit 21: Defendants object to a blanket unsealing of this exhibit. From Plaintiff’s
submission, it is unclear exactly what is contained in this exhibit. Plaintiff claims it is
public information about this judge, but this should be verified prior to unsealing.

Exhibit 22: Defendants object to a blanket unsealing of this exhibit. From Plaintiff’s
submission, it is unclear exactly what is contained in this exhibit. Plaintiff claims it is
public information, but this should be verified prior to unsealing.

Exhibit 23: Defendants object to a blanket unsealing of this exhibit. From Plaintiff’s
submission, it is unclear exactly what is contained in this exhibit. Plaintiff claims it is
public information, but this should be verified prior to unsealing.

Exhibit 24: Defendants object to a blanket unsealing of this exhibit. From Plaintiff’s
submission, it is unclear exactly what is contained in this exhibit. Plaintiff claims it is
public information, but this should be verified prior to unsealing.

Exhibit 25: From Plaintiff’s submission, it is unclear whether these are published or public
BIA opinions that she seeks to have unsealed. Defendants have no objection to the
unsealing of these records, provided personal identifying information is redacted from the
opinions, including respondents’ names, non-parties/witnesses’ names, and alien numbers.

Exhibit 26: Defendants have no objection to unsealing.

Exhibit 27: Defendants have no objection to unsealing.

Exhibit 28: Defendants have no objection to the sealing of Plaintiff’s personnel and
disciplinary records.



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        Exhibit 29: Defendants object to a blanket unsealing of these documents. From Plaintiff’s
        submission, it is unclear exactly what is contained in this exhibit. Plaintiff claims it is
        public information, but this should be verified prior to unsealing.

        Exhibit 30: Defendants have no objection to the sealing of Plaintiff’s personnel and
        disciplinary records.

        Defendants reserve the right to file a motion to modify any order of this Court with respect

to the sealing or unsealing of documents in the future, should circumstances warrant during the

course of this litigation.

Dated: July 25, 2022
       Washington, DC
                                               Respectfully submitted,

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                                               BRIAN P. HUDAK
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